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1
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11
                             UNITED STATES DISTRICT COURT
12
                            EASTERN DISTRICT OF WASHINGTON
13
14   UNITED STATES OF AMERICA,
15                                                 Case No. 2:21-cr-00049-WFN
16
                                   Plaintiff,
                                                   DEFENDANT’S MOTION TO
17
          v.                                       DISMISS COUNT THREE OF
18                                                 SUPERSEDING INDICTMENT
19   RONALD CRAIG ILG,
20                                                 With Oral Argument:
21                                 Defendant.       March 21, 2022 at 8:30 am
22
                                                    Spokane, WA
23
24        COMES NOW, the Defendant Ronald C. Ilg, MD (“Dr. Ilg”), by and
25
26   through his attorneys of record, and hereby submits the following Motion to
27
     Dismiss Count Three of the Superseding Indictment (ECF No. 80).
28
29
          As indicated fully below, the alleged transcript of dark web messages at
30
31   issue does not establish a requisite substantial step for attempted kidnapping as a
32


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1
     matter of law. See United States v. Nelson, 66 F.3d 1036, 1042 (9th Cir. 1995)
2
3    (substantial step “must cross the line between preparation and attempt by
4
5
     unequivocally demonstrating that the crime will take place unless interrupted by
6
     independent circumstances”). The alleged transcript—interpreted in the light
7
8    most favorable for the Government—only shows mere preparation in the form
9
10   of negotiating preliminary details. (See ECF No. 98-1 at 39-55.) Instead, for a
11
     substantial step involving hiring a “hitman” to commit a crime, an agreed upon
12
13   transaction, a finalized payment plan, and all completed acts required by the
14
15   defendant must be present. See, e.g., United States v. Temkin, 797 F.3d 682, 690
16
     (9th Cir. 2015) (substantial step occurred when defendant “met with Pavel, who
17
18   he believed was a hitman, and gave him the intended victims' address and
19
20   personal information, details about a bank account where Pavel could transfer
21
22
     the money he was to extort . . . , and $3,000 in cash”).
23
                                            BACKGROUND
24
25        This is a prosecution for attempted kidnapping and various other crimes
26
27   relating to alleged dark web messages. (ECF No. 80.) The Government’s theory
28
     of the case is that Dr. Ilg, using the moniker “Scar215,” communicated “with
29
30   various administrators/representatives from dark-web sites to hire someone to
31
32   harm two individuals in Spokane, Washington.”                    (ECF No. 1 at 4.)               The


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1
     Government alleges that these individuals were Dr. Ilg’s estranged wife (Victim
2
3    2) and a former coworker (Victim 1). (See id. at 5.)
4
5
           The alleged dark web messages were originally provided by an anonymous
6
     source, to an international news organization, to one of the alleged victims, and
7
8    then to the Federal Bureau of Investigation (“FBI”). (See ECF No. 1 at 3-4.)
9
10   The news organization “was conducting an investigation for a series related to
11
     murder-for-hire services on the dark web.”                (Id. at 3.)           The Government
12
13   acknowledges that “[t]he News Organization obtained the communications
14
15   themselves from a source and/or sources unknown to the FBI.” (Id. at 4.) At
16
     the time Dr. Ilg was criminal charged, the FBI indicated that “[t]he News
17
18   Organization has not provided identification information” regarding the
19
20   anonymous source. (Id.)
21
22
           The alleged messages pursuant to the transcript1 range from February 23,
23
     2021 through April 8, 2021, between “Scar215” and “Admin Internet Killers,”
24
25   “Miguel,” and “Juan admin Sinaloa Cartel.” (See ECF No. 98-1 at 39-55.) The
26
27   Government alleges that “[i]n these messages, Scar215 sought to hire a hitman
28
     to physically kidnap, assault, drug, and extort VICTIM 2, ILG’s estranged
29
30
     1
       For purposes of this Motion to Dismiss, the Court must accept the messages
31
     contained in the transcript as true. However, Dr. Ilg expressly denies sending
32
     the alleged messages and disputes the veracity of the transcript.

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1
     wife.” (ECF No. 1 at 5.) The Government indicates the following “bonus”
2
3    requirement in relation to “the attempted kidnapping” of Victim 2:
4
5
            1) drop court proceedings (this appears to be a reference to then on-
            going divorce proceedings between ILG and VICTIM 2),
6
            2) return to her husband (i.e., ILG) and be intimate with him . . . ;
7           3) tell no one whatsoever about the kidnapping;
8           4) plant drugs and drug paraphernalia in VICTIM 2’s home;
9           5) inject VICTIM 2 with heroin 2 times a day, teaching her to inject
10          herself; and
11
            6) send pictures and videos of VICTIM 2 injecting herself to be
            used to extort VICTIM 2 in the future.
12
13   (Id. at 6-7.)
14
15        The Government alleges that “[o]n or about April 1, 2021, ILG, using the
16
     dark web moniker Scar215, messaged a dark web escrow service . . . , regarding
17
18   his plans to hire a hitman to harm VICTIM 2.”                     (ECF No. 1 at 8.)              The
19
20   Government further alleges that “ILG also transferred several thousands of
21
22
     dollars of Bitcoin into an account with the escrow service.” (Id.) The transcript
23
     contains an alleged April 1, 2021 message from the escrow service to “User”
24
25   indicating: “The funds will be sent back to the address you provided, and the
26
27   transaction is being canceled.” (ECF No. 98-1 at 52.) The transcript does not
28
     identify additional messages between “User” and the dark web escrow service.
29
30        The Government further alleges that “[b]etween April 2 and April 8, 2021,
31
32   ILG, using the dark web moniker Scar215, engaged additional correspondence


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1
     through DARK WEBSITE #2, which again purported to be affiliated with a
2
3    foreign cartel.” (ECF No. 1 at 8.) The Government alleges that “[i]n this further
4
5
     correspondence, Scar215 described additional arrangements for VICTIM 2 to be
6
     kidnapped during the weekend of April 9, 2021—April 11, 2021, while ILG was
7
8    visiting Mexico with his then-current girlfriend.” (Id. at 9.)
9
10        An alleged message from “Juan admin Sinaloa Cartel” in the transcript
11
     purportedly dated April 2, 2021 provides:
12
13          I have been informed that the escrow transaction is being ended and
14          the funds are being sent to your address. Please let me know once
15          you startup a new escrow transaction for the bonus, and add funds
16
            there. Unfortunately, the hitman doesnt want to start the job until
            he sees the bonus funds in escrow. He is afraid you might change
17
            your mind and not add the funds to escrow any more
18
19   (ECF No. 98-1 at 54.) After no response, a subsequent message from “Juan
20
21   admin Sinaloa Cartel” dated April 6, 2021 indicates: “I talked with the hitman
22
     and he said we need to wait until you have the bonus funds in escrow with the
23
24   correct success wallet. He can not start the mission before you have funds in
25
26   escrow.” (Id.)
27
          After further correspondence pursuant to the transcript, “Juan admin
28
29   Sinaloa Cartel” indicates “if you put $5k in our escrow and you start a new
30
31   escrow that will eventually fill to 40k we can start this weekend.” (ECF No. 98-
32


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1
     1 at 55.) The message further provides a “bitcoin wallet for escrow” link and
2
3    states: “Please let me know once you have added the bitcoin and we can
4
5
     proceed.” (Id.) However, no new escrow account, transfer of funds, or payment
6
     is identified by the Government. (See id.; ECF No. 1.)
7
8         Dr. Ilg was arrested on April 16, 2021 and has been in pretrial custody for
9
10   ten months. (See ECF No. 12.) The Superseding Indictment charges Dr. Ilg
11
     with various crimes, including Count Three—Attempted Kidnapping of Victim
12
13   2, contrary to 18 U.S.C. § 1201(a)(1), (d). (See ECF No. 80 at 2-3.)
14
15                                   STANDARD OF REVIEW
16
          Pursuant to Fed. R. Crim. Pro. 12(b)(3)(B)(v), the defendant may move to
17
18   dismiss on the ground that the indictment “fail[s] to state an offense.”                        In
19
20   considering a motion to dismiss an indictment, the Court must accept the
21
22
     allegations in the indictment as true and “analyz[e] whether a cognizable offense
23
     has been charged.” United States v. Boren, 278 F.3d 911, 914 (9th Cir. 2002).
24
25   Although the Court is typically bound by the four corners of the indictment, “[a]
26
27   motion to dismiss an indictment can be determined before trial ‘if it involves
28
     questions of law rather than fact.’” United States v. Castaneda-Nicolas, 535 F.
29
30   Supp. 3d 1059, 1067 (E.D. Wash. 2021) (quoting United States v. Shortt
31
32   Accountancy Corp., 785 F.2d 1448, 1452 (9th Cir. 1986)). As such, the Court


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1
     may determine a motion to dismiss for failure to state a cognizable offense “so
2
3    long as the court’s findings do not ‘invade the province of the jury.’” United
4
5
     States v. Caldera-Lazo, 535 F. Supp. 3d 1037, 1047 (E.D. Wash. 2021) (quoting
6
     Shortt Accountancy Corp., 785 F.2d at 1452).
7
8         As such, the Court may rule upon a motion to dismiss “if the ‘trial of the
9
10   facts surrounding the commission of the alleged offense would be of no
11
     assistance in determining the validity of the defense.’” Caldera-Lazo, 535 F.
12
13   Supp. 3d at 1047 (quoting Shortt Accountancy Corp., 785 F.2d at 1452); accord
14
15   Fed. R. Crim. P. Rule 12, Advisory Committee Notes (“only those issues that can
16
     be determined ‘without a trial on the merits’ need be raised by motion before
17
18   trial”). As such, for purposes of this Motion to Dismiss, the Court may consider
19
20   the alleged transcript of dark web messages as such evidence is documentary,
21
22
     may be treated as undisputed for purposes of this Motion, and does not require a
23
     factual determination.          See Castaneda-Nicolas, 535 F. Supp. 3d at 1062
24
25   (defendant challenged “his underlying removal order” in motion to dismiss for
26
27   failure to state a cognizable offense under Fed. R. Crim. P. 12(b)(3)(B)(v) in
28
     illegal reentry prosecution); accord Caldera-Lazo, 535 F. Supp. 3d at 1043-44
29
30   (same); but see Boren, 278 F.3d at 913 (in making false statements to influence
31
32   federally insured bank prosecution, trial court improperly conduct evidentiary


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1
     hearing where “[e]ach side presented the testimony of a banker regarding the
2
3    nature of an official bank check and a stop payment request”). In other words,
4
5
     this Motion to Dismiss is not predicated upon extrinsic evidence, but rather
6
     whether the alleged transcript of dark web messages that is the crux of the
7
8    Government’s case is sufficient as a matter of law. See id.
9
10                                  POINTS & AUTHORITIES
11
          Count Three of the Superseding Indictment charges Dr. Ilg with attempted
12
13   kidnapping of Victim 2 based upon the use of “a cellular phone, the Internet, and
14
15   related instrumentalities.” (ECF No. 80 at 2-3.) However, the alleged dark web
16
     messages contained within the transcript fail to establish a substantial step as a
17
18   matter of law. (See ECF No. 98-1 at 39-55.) A person commits the crime of
19
20   attempted kidnapping if he or she attempts to “unlawfully seize[], confine[], . . .
21
22
     kidnap[], abduct[], or carr[y] away and holds for ransom or reward or otherwise
23
     any person” and “the offender . . . uses . . . any means, facility, or
24
25   instrumentality of interstate or foreign commerce.” 18 U.S.C. § 1201(a)(1), (d).
26
27   In turn, attempt requires: “‘(1) an intent to engage in criminal conduct, [and] (2)
28
     an overt act constituting a substantial step toward the commission of the
29
30   crime.’” United States v. Iribe, 564 F.3d 1155, 1161 (9th Cir. 2009).
31
32


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1
          In determining a substantial step, “[c]onduct which constitutes only ‘mere
2
3    preparation’ is insufficient.” United States v. Gutierrez-Zamarano, 24 F.3d 250
4
5
     (9th Cir. 1994).         The purpose of the “substantial step” requirement is to
6
     “corroborate strongly the firmness of the defendant’s criminal intent.” United
7
8    States v. Nelson, 66 F.3d 1036, 1042 (9th Cir. 1995). Particularly in the Ninth
9
10   Circuit, “[a] substantial step is . . . an action of ‘such substantiality that, unless
11
     frustrated, the crime would have occurred.’” Nelson, 66 F.3d at 1042; accord
12
13   United States v. Hofus, 598 F.3d 1171, 1174 (9th Cir. 2010). Even if intent is
14
15   clear, the substantial step “must cross the line between preparation and attempt
16
     by unequivocally demonstrating that the crime will take place unless interrupted
17
18   by independent circumstances.” Nelson, 66 F.3d at 1042.
19
20        For example, in United States v. Nelson, 66 F.3d 1036, 1043 (9th Cir.
21
22
     1995), the Ninth Circuit held that there was an insufficient substantial step for
23
     attempted money laundering when the defendant “discussed the . . . scheme with
24
25   [an alleged co-conspirator], who had the final authority, and [the co-conspirator]
26
27   rejected it.” Similarly, in United States v. Still, 850 F.2d 607, 610 (9th Cir.
28
     1988), the Ninth Circuit held that a substantial step to rob a bank did not occur
29
30   when the defendant “was seen sitting in his van, with the motor running,
31
32   wearing a long blonde wig, parked approximately 200 feet away from the . . .


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1
     Bank” as no evidence established “either actual movement toward the bank or
2
3    actions that are analytically similar.” Finally, in United States v. Candoli, 870
4
5
     F.2d 496, 503 (9th Cir. 1989), the Ninth Circuit held that no substantial step to
6
     commit arson occurred when the defendants “were seen driving by [the crime
7
8    scene],” “parking up the street,” and “[p]lastic bottles with gasoline were found
9
10   in the trunk” after stopped by law enforcement.
11
          Although plotting an offense, obtaining the necessary tools, and discussing
12
13   details with another may show intent, such acts do not establish a substantial
14
15   step as a matter of law. See id. Instead, a substantial step requires that the
16
     defendant cross the point where the crime will occur absent intervening
17
18   circumstances. See United States v. Smith, 962 F.2d 923, 926, 930-31 (9th Cir.
19
20   1992) (substantial toward possession of cocaine when defendant arrived with
21
22
     codefendant at house where cocaine was picked up, drove off later in another
23
     car, and circled parking lot with a shotgun in his lap as “each participant in the
24
25   joint venture did all that he could do to ensure the deal’s completion”); accord
26
27   United States v. Davis, 960 F.2d 820, 827 (9th Cir. 1992) (substantial step
28
     toward possession of cocaine where defendant arranged meeting, introduced
29
30   parties when they arrived, and “supplied the purchase money”).
31
32


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1
            In the context of an attempt charge involving a hitman, more than mere
2
3    negotiation, planning, and the exchange of information is required to constitute a
4
5
     substantial step. See United States v. Temkin, 797 F.3d 682, 690 (9th Cir. 2015)
6
     (substantial step occurred when defendant “met with Pavel, who he believed was
7
8    a hitman, and gave him the intended victims' address and personal information,
9
10   details about a bank account where Pavel could transfer the money he was to
11
     extort . . . , and $3,000 in cash”); United States v. Irving, 665 F.3d 1184, 1200
12
13   (10th Cir. 2011) (substantial step for witness tampering when defendant and
14
15   associate of hitman had “a series of discussions about the possible hit on
16
     [victim], they reached a concrete agreement for the hit and settled on a definite
17
18   price ($50,000) and the form of payment (i.e., cash, with one-half up front”);
19
20   People v. Voit, 355 Ill. App. 3d 1015, 825 N.E.2d 273, 287 (Ill. App. Ct. 2004)2
21
22
     (substantial step occurred by “providing [purported hitman] not only the money,
23
     but also personal information about [the victim], a photograph of [victim], and
24
25   [victim’s] car key”); State v. Daniel B., 331 Conn. 1, 201 A.3d 989, 1003 (2019)
26
27   (substantial step when defendant met purported hitman in person, provided
28
     photograph, finalized “carjacking scenario,” and “created a structured payment
29
30   scheme, whereby they agreed to a total price, a down payment amount, and
31
32   2
         Out-of-jurisdiction cases offered for nonbinding, persuasive purposes only.

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1
     upfront payment amount to be paid by the defendant . . . approximately ten
2
3    hours later”); Martin-Argaw v. State, 343 Ga. App. 864, 806 S.E.2d 247, 250
4
5
     (2017) (substantial step when defendant “had given the ‘hit man’ specific
6
     information about the three people, . . . agreed to pay a negotiated price for the
7
8    hit, . . . discussed the logistics of making the payment, . . . [and] responded
9
10   affirmatively when the ‘hit man’ made it clear that [defendant] did not need to
11
     do anything else before the hit occurred”). The attempted transaction should be
12
13   associated with in-person meeting(s), a finalized plan, and complete payment (or
14
15   payment plan) so the crime will occur absent frustration by intervening
16
     circumstances. (See ECF No. 98-1 at 144 (apparent substantial step in dark web
17
18   hitman sting when “[a]n undercover FBI agent, posing as a hitman,” met with
19
20   suspect, finalized transaction, and the suspect “made the final $1,000 payment
21
22
     via Western Union”).
23
          In the situation at hand, the alleged dark web messages (as contained in the
24
25   transcript) do not establish a substantial step towards the commission of
26
27   attempted kidnapping as a matter of law.              At no point during the alleged
28
     correspondence was final payment exchanged and/or a finalized transaction
29
30   agreed upon.        Instead, the alleged April 1, 2021 message from the escrow
31
32   service: “The funds will be sent back to the address you provided, and the


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1
     transaction is being canceled.” (ECF No. 98-1 at 52.) Thereafter, the purported
2
3    dark web contact provided on April 2, 2021: “Unfortunately, the hitman doesnt
4
5
     want to start the job until he sees the bonus funds in escrow.” (ECF No. 98-1 at
6
     54.) After no correspondence for multiple days, the purported hitman associate
7
8    indicated that “[the hitman] said we need to wait until you have the bonus funds
9
10   in escrow with the correct success wallet. He can not start the mission before
11
     you have funds in escrow.”                (Id.)   Thereafter, no new escrow account or
12
13   payment is identified. (See id.; ECF No. 1.)
14
15        Even inferring the transcripts in the light most favorable to the
16
     Government, no in-person meeting(s) or phone conversation(s) occurred, the
17
18   alleged dark web hitman transaction was never finalized, and no money
19
20   ultimately changed hands. (See ECF No. 98-1 at 52-54; ECF No. 1.) Although
21
22
     the mere preparation documented in the messages may infer criminal intent, no
23
     substantial step occurred to “unequivocally demonstrat[e] that the crime will
24
25   take place unless interrupted by independent circumstances.” Nelson, 66 F.3d at
26
27   1042.     The province of the jury would not be invaded based upon the
28
     consideration of the alleged dark web messages transcript that speaks for itself.
29
30   See id.     No substantial step occurred as a matter of law and dismissal is
31
32   warranted. See id.


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1
                                              CONCLUSION
2
3         Based upon the foregoing, the Defendant respectfully requests that the
4
5
     Court grant this Motion to Dismiss Count Three of the Superseding Indictment
6
     as a matter of law.
7
8         RESPECTFULLY SUBMITTED this 28th day of February, 2022.
9
10                                  ETTER, McMAHON, LAMBERSON,
11
                                     VAN WERT & ORESKOVICH, P.C.
12
                                 By: /s/ Andrew M. Wagley
13                                  Carl J. Oreskovich, WSBA #12779
14                                  Andrew M. Wagley, WSBA #50007
15                                  Attorneys for Ronald C. Ilg, MD
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        Defendant’s Motion to Dismiss Count             ETTER, MCMAHON, LAMBERSON,
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                                                              618 WEST RIVERSIDE AVENUE, SUITE 210
                                                           SPOKANE, WASHINGTON 99201 (509) 747-9100
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1
                                  CERTIFICATE OF SERVICE
2
3           I hereby certify that on the 28th day of February, 2022, I electronically
4
5
      filed the foregoing document with the Clerk of the Court using the CM/ECF
6
      System, which will send notification of such filing to all attorneys of record.
7
8           EXECUTED in Spokane, Washington this 28th day of February, 2022.
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10                               By: /s/ Andrew M. Wagley
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                                    Andrew M. Wagley
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        Defendant’s Motion to Dismiss Count             ETTER, MCMAHON, LAMBERSON,
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